Case 4:07-cv-05944-JST Document 1550 Filed 02/08/13 Page 1 of 3

Hon. Charles A. Legge (Ret.)

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Special Master

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION
CRAGO, INC., et al.,
Plaintiffs,
vs.

CHUNGHWA PICTURE TUBES, LTD.,
et al.,

Defendants.

This Document Relates to ALL CASES

Case No. 07-5944 SC
MDL No. 1917
JAMS Ref. No. 1100054618

REPORT AND RECOMMENDATIONS
REGARDING SCHEDULING CHANGES

To the Honorable Samuel Conti, United States District Judge:

The cases in the Cathode Ray Tube Antitrust Litigation are presently subject to a

scheduling order entered by your Honor on April 3, 2012; document No, 1127.

The parties have conferred and are jointly requesting modifications of the scheduling
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Case 4:07-cv-05944-JST Document 1550 Filed 02/08/13 Page 2 of 3

order. The proposed new scheduling order is attached to this report as Attachment A. The
differences between the present schedule and the one now proposed by the parties are set forth in
an outline, Attachment B.

There are three matters to bring to Your Honor’s attention in connection with the
requested scheduling changes:

First, the request is apparently made by all of the plaintiffs, and all of the defendants, in
all of the cases which had been related together as the Cathode Ray Tube Antitrust Litigation.
The parties have not stated specific reasons for the change, but it is significant that they have all
agreed.

Second, the proposed scheduling changes extend all of the remaining deadlines in these
cases, up to and including the trial, by about six months. Neither the parties nor the special
master know what impact the changes would have on your Honor’s calendar of other cases.

Third, there is only one point of dispute between the parties in the proposed order;
Attachment A. That is, plaintiffs propose a mediation on March 15, 2013 in the direct class
cases. But the defendants these cases believe that the presently scheduled mediation date, which
would be July 31, 2014, under the proposed Attachment A, is adequate.

The special master notes that some settlements have already been reached in the direct
class cases, and believes that a more immediate settlement conference could assist in possibly
settling the remaining cases. There does not appear to be any downside to such an additional
conference, other than the expenditure of some attorney and client time. But in view of the
substantial time which will have to be expended by the parties if there are no further settlements,
the additional expenditure of time for a settlement conference next month does not appear to be
material.

The special master therefore recommends that:

1. The proposed mediation date of March 15, 2013 for the direct class cases remain

in the proposed new scheduling order;
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Case 4:07-cv-05944-JST Document 1550 Filed 02/08/13 Page 3 of 3

2. Subject to your Honor’s calendar of other cases, the Court approve the proposed
Revised Scheduling Order in the form of Attachment A.
Respectfully submitted,

Dated: February © , 2013 CE, bn QR : agg

Hon. Charles A. Legge (Ret.),
Special Master

Recommendations: Approved/Rejected.

Dated:

Hon. Samuel Conti,
District Judge
